             Case 3:22-cv-04261-VC Document 30-1 Filed 10/12/22 Page 1 of 2



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 8                                  UNITED STATES DISTRICT COURT

 9                            NORTHERN DISTRICT OF CALIFORNIA

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11   Automated Pet Care Products, LLC d/b/a       Case No. 5-22-cv-04261-VC
     Whisker, a Michigan corporation,
12                                                Honorable Vince Chhabria
                       Plaintiff,
13                                                [PROPOSED] ORDER GRANTING
            vs.                                   REQUEST FOR JUDICIAL NOTICE
14
                                                  Hearing: December 1, 2022
15   PurLife Brands, Inc. d/b/a Smarty Pear, a    Time: 10:00 a.m.
     Delaware corporation, and Chris Madeiras,    Courtroom: 4 – 17th Floor (Zoom Hearing)
16   an individual,                               Judge: The Honorable Vince Chhabria
                                                  Complaint Filed: July 22, 2022
17                     Defendants.
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                                                           [PROPOSED] ORDER GRANTING
                                                          REQUEST FOR JUDICIAL NOTICE
                                                                 Case No. 5-22-cv-04261-VC
              Case 3:22-cv-04261-VC Document 30-1 Filed 10/12/22 Page 2 of 2



 1          Before the Court is Defendants PurLife Brands, Inc. (d/b/a “Smarty Pear”) and Chris

 2   Madeiras’ Request for Judicial Notice in Support of Defedants’ Motion to Dismiss the Amended

 3   Complaint. Upon consideration of the Request for Judicial Notice and any opposition and reply

 4   thereto, it is hereby ORDERED that the Court will consider the contents of the materials in

 5   paragraphs 1-19 of the Request for Judicial Notice, in connection with Defendants’ Motion to

 6   Dismiss the Amended Complaint.

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 8   DATED: _________________________                    ____________________________
                                                                  Vince Chhabria
 9                                                          United States District Judge
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                                                               [PROPOSED] ORDER GRANTING
                                                  -1-         REQUEST FOR JUDICIAL NOTICE
                                                                     Case No. 5-22-cv-04261-VC
